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 1
                          UNITED STATES DISTRICT COURT
 2
                         CENTRAL DISTRICT OF CALIFORNIA
 3
 4
     TIREHUB, LLC                              Case No. 5:21-cv-1087-JGB (SPx)
 5
                              Plaintiff,       Honorable Jesus G. Bernal
 6
                    v.
 7
 8
   MR. D’S TIRE SERVICE and
 9 LAWRENCE E. DUFFNER,
                                               ORDER FOR ENTRY OF RULE
10                           Defendants.       55(B) DEFAULT JUDGMENT
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14        The Court, upon reviewing and considering Plaintiff TireHub, LLC’s
15 (“Plaintiff”) Motion for Entry of Rule 55(b) Default Judgment (“Motion”), IT IS
16 HEREBY ORDERED that Plaintiff’s MOTION is GRANTED as follows:
17
18     1. Default judgment is entered in favor of PLAINTIFF TIREHUB, LLC against
19        DEFENDANTS Mr. D’S TIRE SERVICE and LAWRENCE E. DUFFNER.
20        for Plaintiff’s breach of contract, negligent misrepresentation, conversion, and
21        Cal. Bus. & Prof. Code § 17200 et seq. claims, or Counts One through Four,
22        pursuant to Fed. R. Civ. P. 55(b);
23     2. Recovery is appropriate in the amount of $717,516.03, representing:
24        $615,000.00 in damages and $102,516.03 in prejudgment interest;
25     3. Post-judgement interest at 10% per annum, which will accrue on the principal
26        amount due beginning on the date judgment is entered;
27     4. DEFENDANTS MR. D’S TIRE SERVICE and LAWRENCE E. DUFFNER
28
                                               1                         5:21-cv-1087-JGB (SPx)
                                           JUDGMENT
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 1        shall be jointly and severally liable for the above amount of damages and costs.
 2
 3        IT IS SO ORDERED.

 4
 5
           February 2 2022
 6 Dated: ________________                __________________________________
 7                                             Honorable Jesus G. Bernal
                                               United States District Judge
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                                              2                         5:21-cv-1087-JGB (SPx)
                                          JUDGMENT
